            Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 1 of 9



 1   KHUSHPREET R. MEHTON, SBN 276827
     ACCESSIBLE CALIFORNIA, APC
 2   2880 Zanker Road, Suite 203
     San Jose, CA 95134
 3   Telephone: (408) 449-4505
     Facsimile: (408) 432-7235
 4   Email: kmehton@accessiblecalifornia.com

 5
     Attorney for Plaintiff Douglas Powers
 6

 7

 8                              UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10

11   DOUGLAS POWERS,                                     CASE NO.:

12          Plaintiff,                                   COMPLAINT FOR DAMAGES AND
                                                         INJUNCTIVE RELIEF FOR DENIAL OF
13   v.                                                  CIVIL RIGHTS AND ACCESS TO
                                                         PUBLIC FACILITIES IN VIOLATION OF
14   MAD VAPATORY LLC, HAZIM PETROS,                     TITLE III OF THE AMERICANS WITH
     MARGARET PETROS, and DOES 1-10,                     DISABILITIES ACT; VIOLATION OF
15   inclusive,                                          CALIFORNIA CIVIL CODE §§ 51,52;
                                                         AND RELATED CODES AND
16          Defendants.                                  REGULATIONS

17                                                       DEMAND FOR JURY

18
            Plaintiff, Douglas Powers, alleges as follows:
19
                                             I. PARTIES
20
            1.      This is a civil rights action by Plaintiff, Douglas Powers (“Plaintiff”) for
21
     disability discrimination by Defendants Mad Vapatory LLC, Hazim Petros, Margaret
22
     Petros, and Does 1-10, inclusive (“Defendants”).
23
            2.      Plaintiff is a Santa Clara County resident with physical disabilities. He has
24
     been disabled since amputation of his leg. As such, Plaintiff’s physical impairments
25
     substantially limit and/or affect one or major life activities such as walking. At all relevant

                                                -1-
                                      COMPLAINT FOR DAMAGES
             Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 2 of 9



 1   times, Plaintiff is and was a “person with a disability” and a “physically handicapped

 2   person” within the meaning of the Americans with Disabilities Act and California

 3   Government Code section 12926 and is a person whose rights are protected by these

 4   laws.

 5           3.     Plaintiff is informed and believes and thereon alleges that at all times

 6   herein mentioned, Defendants were and currently are the owners and/or operators of

 7   the real property and Vape Affair store located at 2905 El Camino Real, Santa Clara, CA

 8   (“the Facility”).

 9           4.     Plaintiff does not know the true names of Defendants, their business

10   capacities, their ownership connection to the property and business, or their relative

11   responsibilities in causing the access violations herein complained of and alleges a joint

12   venture and common enterprise by all such Defendants. Plaintiff is informed and

13   believes that each of the Defendants herein, including DOES 1 through 10, inclusive, is

14   responsible in some capacity for the events herein alleged, or is a necessary party for

15   obtaining appropriate relief. Plaintiff will seek leave to amend this Complaint when their

16   true names and capacities are ascertained.

17           5.     Plaintiff is informed and believes that each of the Defendants is and was

18   the agent, employee or representative of each of the other Defendants and performed

19   all acts and omissions stated herein within the scope of such agency or employment or

20   representative capacity and is responsible in some form or manner for the acts and

21   omissions of the other Defendants thereby proximately causing the damages

22   complained of herein.

23           6.     At all relevant times, all Defendants and each of them were legally

24   responsible to Plaintiff for each of their co-defendants’ wrongs, acts, and omissions

25   alleged herein as though they had each committed each act themselves, and at all times

                                               -2-
                                     COMPLAINT FOR DAMAGES
            Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 3 of 9



 1   authorized, directed, and ratified the acts and omissions of each remaining defendant.

 2                                       II. JURISDICTION AND VENUE

 3          7.        This Court has subject matter jurisdiction of this action pursuant to 28

 4   U.S.C. §§ 1331 and 1343 for violations of the Americans with Disabilities Act (“ADA”) of

 5   1990, 42 U.S.C. § 12101, et seq.

 6          8.        Pursuant to supplemental jurisdiction, an attendant and related cause of

 7   action arising from the same nucleus of operative facts and arising out of the same

 8   transactions is also brought under California’s Unruh Civil Rights Act, which act

 9   expressly incorporates the Americans with Disabilities Act.

10          9.        Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is based

11   on the fact that the Facility (i.e., the real property) which is the subject of this action is

12   located in the Northern District of California and that Plaintiffs’ cause of action arose in

13   the Northern District of California.

14                                           III. SUMMARY OF FACTS

15          10.       Plaintiff lives in Santa Clara County and visited the Facility located at 2905

16   El Camino Real, Santa Clara, CA on at least six (6) occasions during the statutory

17   period (i.e., two years) including most recently in July 2019. During his visits to the

18   Facility Plaintiff encountered some or all of the following barriers to access:

19                •   No unauthorized vehicle parking tow away warning sign mounted at either

20                    the entrance to off-street parking or immediately adjacent to and visible

21                    from disabled parking areas;

22                •   No accessible route from disabled parking to entrance of Facility;

23                •   No accessible route form public street and sidewalk to entrance of Facility;

24                •   No accessible route connecting buildings, facilities, elements, and spaces

25                    at the Facility;

                                                     -3-
                                           COMPLAINT FOR DAMAGES
            Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 4 of 9



 1                •   No van accessible disabled parking space and/or adjacent access aisle;

 2                •   No compliant disabled parking identification signage;

 3                •   Entrance door to the Facility does not have a 10” uninterrupted smooth

 4                    surface on the push side of the door; and

 5                •   The entrance door requires more than 5lbs of maximum force to operate.

 6          11.       These barriers at the Facility and the lack of accessibility caused Plaintiff

 7   to feel like a second-class citizen. In particular, the lack of an accessible parking space,

 8   access aisle, and accessible routes of travel make it difficult for Plaintiff to make his way

 9   to the entrance of the Facility as there are no spaces reserved for disabled patrons and

10   there is no marked accessible route of travel from the sidewalk or the parking lot to the

11   entrance. As such, Plaintiff is forced to utilize a regular parking space and must typically

12   travel behind vehicles other than his own to reach the entrance. The lack of an

13   accessible entrance door also makes it difficult for Plaintiff to enter the Facility.

14          12.       Plaintiff intends to continue to visit the Facility and will continue to be

15   discriminated against until the barriers to access are removed.

16          13.       Until the discriminatory policies, practices, and procedures of Defendants

17   are modified and changed, Plaintiff will continue to be denied full and equal access to

18   the goods and services offered by Defendants to the general public because he will

19   suffer ongoing discrimination and damages by being excluded and deterred from the

20   Facility.

21          14.       Plaintiff is informed, believes, and based thereon alleges that his individual

22   experiences of disability discrimination by Defendants are representative of Defendants’

23   overall failure to maintain adequate accessible facilities and/or adequate training of

24   employees as to the rights of customers with disabilities.

25          15.       The discriminatory treatment of Plaintiff by Defendants constitutes an

                                                  -4-
                                        COMPLAINT FOR DAMAGES
           Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 5 of 9



 1   ongoing violation of both federal and state laws, and unless enjoined by this Court, will

 2   result in an ongoing and irreparable injury to Plaintiff and other similarly situated

 3   persons.

 4
                                     IV. FIRST CLAIM
 5           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
                               42 U.S.C. §12101 et seq.
 6

 7          16.    Plaintiff realleges and incorporates by reference each and every allegation

 8   contained in Paragraphs 1 through 15, inclusive, as though fully set forth herein.

 9          17.    Congress enacted the Americans with Disabilities Act (hereinafter “ADA”)

10   upon finding, among other things, that “society has tended to isolate and segregate

11   individuals with disabilities” and that such forms of discrimination continue to be “serious

12   and pervasive social problems.” 42 U.S.C. § 12101(a)(2).

13          18.    In response to these findings, Congress explicitly stated that the purpose

14   of the ADA is to provide “a clear and comprehensive national mandate for the

15   elimination of discrimination against individuals with disabilities” and “clear, strong,

16   consistent, enforceable standards addressing discrimination against individuals with

17   disabilities.” 42 U.S.C. § 12101(b)(1)-(2).

18          19.    Title III of the ADA provides in pertinent part: “No individual shall be

19   discriminated against on the basis of disability in the full and equal enjoyment of the

20   goods, services, facilities, privileges, advantages, or accommodations of any place of

21   public accommodation by any person who owns . . . or operates a place of public

22   accommodation.” 42 U.S.C. § 12182(a).

23          20.    The ADA further provides that “it shall be discriminatory to afford an

24   individual or class of individuals, on the basis of disability or disabilities of such

25   individual class, directly, or through contractual, licensing, or other arrangement with the
                                               -5-
                                     COMPLAINT FOR DAMAGES
            Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 6 of 9



 1   opportunity to participate in or benefit from a good, service, facility, privilege, advantage,

 2   or accommodation that is not equal to that afforded to other individuals.” 42 U.S.C. §

 3   12182(b)(1)(A)(ii).

 4          21.     Discrimination under the ADA includes “a failure to take such steps as may

 5   be necessary to ensure that no individual with a disability is excluded, denied services,

 6   segregated or otherwise treated differently than other individuals because of the

 7   absence of auxiliary aids and services . . . .” 42 U.S.C. § 12182(b)(1)(A)(iii).

 8          22.     The ADA further prohibits “a failure to make reasonable modification in

 9   policies, practices, or procedures, when such modifications are necessary to afford such

10   goods, services, facilities, privileges, advantages, or accommodations to individuals with

11   disabilities . . .” 42 U.S.C. § 12182(b)(1)(A)(ii).

12          23.     By virtue of their acts and omissions herein alleged, Defendants have

13   violated Title III of the ADA as to Plaintiff.

14          24.     Pursuant to 42 U.S.C. § 12188(a), Plaintiff is entitled to declaratory and

15   injunctive relief, and to recover reasonable attorneys’ fees and litigation costs and

16   expenses incurred in bringing this action.

17                                   V. SECOND CLAIM
                            VIOLATION OF UNRUH CIVIL RIGHTS ACT
18                            CALIFORNIA CIVIL CODE § 51 et seq.

19          25.     Plaintiff realleges and incorporates by reference each and every allegation

20   contained in Paragraphs 1 through 24, inclusive, as though fully set forth herein.

21          26.     At all times herein mentioned, the Unruh Civil Rights Act, California Civil

22   Code §51(b), provided that:

23                  All persons within the jurisdiction of this state are free and
                    equal, and no matter what their sex, race, color, religion,
24                  ancestry, national origin, disability, or medical condition are
                    entitled to the full and equal accommodations, advantages,
25                  facilities, privileges, or services in all business
                                                 -6-
                                       COMPLAINT FOR DAMAGES
           Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 7 of 9



 1                 establishments of every kind whatsoever.

 2   Pursuant to §51(f),

 3                 A violation of the right of any individual under the Americans
                   with Disabilities Act of 1990 (Public Law 101-336) shall also
 4                 constitute a violation of this section.
 5          27.    Plaintiff is a person with a disability within the meaning of the Unruh Act.
 6          28.    Defendants’    business    location   (i.e.,   the   Facility)   is   a   business
 7   establishment within the meaning of the Unruh Act.
 8          29.    Plaintiff suffered damages as above described as a result of Defendants’
 9   violation of California Civil Code §§ 51(b) and 51(f) in multiple regards including, but not
10   limited to, denying Plaintiff the opportunity for full and equal access and enjoyment to
11   the Facility and the goods and services provided therein, in violation of both California
12   law and the ADA, as described in the Summary of Facts, supra, the contents of which
13   are incorporated herein.
14          30.    California Civil Code §52(a) provides that each such violation entitles
15   Plaintiff to “the actual damages, and any amount that may be determined by a jury, or a
16   court sitting without a jury, up to a maximum of three times the amount of actual damage
17   but in no case less than four thousand dollars ($4,000.00), and any attorney’s fees that
18   may be determined by the court in addition thereto. . . .”
19          31.    On the subject occasions (i.e., on at least six (6) occasions including his
20   most recent visit in July 2019) when Plaintiff attempted to obtain the goods and services
21   offered by Defendants, he was not allowed full and equal enjoyment and access due to
22   the refusal by Defendants to provide accommodation to and around the Facility. As a
23   result, Plaintiff suffered unnecessary anxiety and panic, causing him to feel humiliated,
24   embarrassed, frustrated, and angry that he could not obtain full and equal access to the
25   services offered at the Facility simply because he was disabled.
                                               -7-
                                     COMPLAINT FOR DAMAGES
              Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 8 of 9



 1            32.   Plaintiff was damaged by Defendants’ wrongful conduct and seeks

 2   statutory minimum damages of four thousand dollars ($4,000.00) for each event of

 3   discrimination and for each time Plaintiff has been deterred from returning to the

 4   business together with attorney’s fees and litigation costs and expenses.

 5            WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

 6            1.    That the Court issue a preliminary and permanent injunction directing

 7   Defendants as the owners and/or operators of the Facility located at 2905 El Camino

 8   Real, Santa Clara, CA to remove the aforementioned barriers to Plaintiff’s full and equal

 9   access and establish policies and procedures so that they provide full and equal access

10   to all persons, including persons with physical disabilities as required by law.

11            2.    That the Court retain jurisdiction over the Defendants until such time as

12   the Court is satisfied that Defendants’ unlawful policies, practices, acts and omissions

13   complained of herein no longer occur, and cannot reoccur;

14            3.    That Plaintiff be awarded all appropriate damages, including but not limited

15   to statutory damages, general damages, special damages, punitive/exemplary damages

16   and treble damages in an amount within the jurisdiction of the Court, all according to

17   proof;

18            4.    That Plaintiff be awarded all of his reasonable statutory attorney’s fees,

19   litigation expenses, and costs of this proceeding as provided by law;

20            5.    That Plaintiff be awarded prejudgment interest pursuant to Civil Code

21   §3291; and

22

23

24

25   //

                                               -8-
                                     COMPLAINT FOR DAMAGES
          Case 5:19-cv-05642-VKD Document 1 Filed 09/06/19 Page 9 of 9



 1         6.     Such other and further relief as the Court deems just and proper.

 2

 3   Dated: September 6, 2019                 ACCESSIBLE CALIFORNIA, APC

 4                                            By: /s/ Khushpreet Mehton
                                              KHUSHPREET MEHTON, ESQ.
 5                                            Attorney for Plaintiff Douglas Powers

 6

 7
                                      DEMAND FOR JURY
 8
           Plaintiff hereby demands a jury for all claims for which a jury is permitted.
 9

10
     Dated: September 6, 2019                 ACCESSIBLE CALIFORNIA, APC
11
                                              By: /s/ Khushpreet Mehton
12                                            KHUSHPREET MEHTON, ESQ.
                                              Attorney for Plaintiff Douglas Powers
13

14

15

16

17

18

19

20

21

22

23

24

25

                                              -9-
                                    COMPLAINT FOR DAMAGES
